
PER CURIAM.
Petitioner is granted belated appeals of the August 2, 2011, judgments and sentences in Duval County Circuit Court case numbers 16-2011-CF-003765-AXXX-MA, 16-2011-CF-003766-AXXX-MA and 16-2011-CF-004340-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
WOLF, LEWIS, and THOMAS, JJ., concur.
